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EXHIBIT R
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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS
IN RE: PHARMACEUTICAL )
INDUSTRY AVERAGE WHOLESALE ) MDL NO. 1456
PRICE LITIGATION ) CIVIL ACTION:
THIS DOCUMENT RELATES TO ) 01-CV-12257-PBS
U.S. ex rel. Ven-A-Care of ) Judge Patti B. Saris
the Florida Keys, Inc. v. )
Abbott Laboratories Inc., ) Chief Magistrate Judge

No. 07-CV-11618-PBS ) Marianne B. Bowler

VIDEOTAPED 30(b) (6) DEPOSITION OF
JOHN M. LOCKWOOD, M.D.
Volume I
(Taken by Defendant Abbott Laboratories Inc.)

April 23, 2009
9:27 a.m.
Suite 800

1420 Peachtree Street, N.E.
Atlanta, Georgia
Reported by: F. Renee Finkley, RPR, CRR, CLR,

CCR-B-2289

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MR. BREEN: Got you. Okay. I just want

to let you know if -- you know, zig or zag on

those, however you think is appropriate, but

when you get to one of them and he doesn't have

a present recollection that's sufficient to

respond, let me know and I will -- we will

endeavor to try to remedy that is all I'm

saying.

MR. BERLIN: I appreciate that. Thank
you.

Q. (By Mr. Berlin) Why were you looking at
this issue in 2000?

A. Well, we were looking -- and we started
looking at this earlier than 2000 -- at oral drugs
where we felt that there were issues with the
reported WACs and in particular where, had the WAC
prices been reported what we felt would be
accurately, that there in fact would have been a
change in the federal upper limit for those drugs, if
they were on a federal upper limit, and -- and also
looking at what effect that may or may not have had

on the reported AWP for those drugs. And we had

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looked in detail at that FUL issue or started to look
in detail at that FUL issue and I happened to look at
the Abbott drugs just as part of the process.

Q. What led you to look at the Abbott drugs
at that point in 2000 as opposed to sometime in 1999
or 1998?

A. Well, this isn't the only thing I was
doing at Ven-A-Care. We had a wide variety of
projects going on. I certainly had a wide variety of
projects going on at any one time and it was just a
matter of, I guess, what we had time to look at in
terms of investigating and looking at these issues.
And I looked at -- happen to look at Abbott in more
detail in 2000, and in many ways, this complaint
describes what I found.

Q. Was that something that was on -- really
what I'm trying to determine, is it something that
was on sort of an agenda or task list that you had
saying I want to look at the Abbott drugs and you
were just busy or was it just that day you thought I
ought to look at the Abbott drugs on this?

A. I don't think that we were ever that

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organized that we had a specific task list about what
to do, but we started looking at some oral drugs

and -- and in particular looking at the FUL issue.
And that ultimately led to me looking at -- so, I
mean, I looked at lots of other manufacturers too.
It's not like I only looked at Abbott. But I looked
at these drugs and looked at PPD and found what I
thought were discrepancies and problems with these
drugs in terms of their price reporting.

Q. When you sat down to look at this issue,
describe how you went about doing that, I mean sort
of the mechanics of and the documents that you used
to try to evaluate the issue.

A. Well, we had a number of things available,
meaning we had a number of different price lists
available, and we had McKesson catalogs that went
back I think to 1992, which contained prices on these
drugs or many of these drugs. We had some Bergen
Brunswig printouts that contained prices on these
drugs.

And during 2000 we had been essentially

shifted by McKesson from the catalogs into an

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electronic version of their catalog called Econolink
that was on a computer, so that I basically dida
printout or looked at the Abbott drugs listed in
Econolink, because I guess it was user-friendly or it
was computerized, whatever, and really looked at and
saw and noticed the discrepancies between the
so-called regular costs at McKesson, which is their
catalog price, list price, noncontract price, variety
of different names for it, and the AWPs.

And during 2000 I was able to -- I dida
number of things. I was able to print that Econolink
database to a file, a text file. And during 2000 and
perhaps a little bit earlier, but mainly during 2000,
one of my other projects was to learn and teach
myself how to use Microsoft Access, which is a
software program that allows you to manipulate
databases.

So one of the things I was able to do was
to import the text file from this electronic catalog
into Microsoft Access, including all the pricing
data, times, dates, the whole thing as a text file.

And then I was able to essentially investigate this

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more by creating new columns where I would, for
instance on an investigative level, divide the
average wholesale price by the regular cost, the
catalog price. That would give me a ratio. And then
I could --

Q. I'm sorry. Which number was the numerator
and denominator?

A. The AWP that was in that program divided
by the noncontract catalog price, regular cost
column, what -- there were a number of different
names for this column, and that gave me a ratio;
essentially divide the AWP by the regular cost
column.

That showed me that for the bulk of the
Abbott PPD drugs, that that ratio was 1.25, as I
recall. Now, this is a -- kind of an interesting
math issue, but in -- as I recall -- and I'd probably
have to sit down, do the math again. But I think if
you add 20 percent to the WAC price -- First Data
Bank was doing that to arrive at an AWP, but the
reverse of that gives you a 1.25 ratio. It's a

little bit -- it's a math glitch.

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But suffice it to say that for all the PPD
drugs, that ratio was about 1.25. For the -- mainly
the drugs in this complaint, that ratio was
Significantly higher, and it varied from drug to
drug, but significantly higher, so that it allowed me
to also look at -- I ultimately looked at the
reported WACs on those and found, I felt, consistency
in the other PPD drugs that -- they're typical brand
drugs. The regular cost column was very consistent
with the reported wholesale acquisition cost, and for
these Ery drugs, it was inconsistent.

I then also looked at these drugs in
regards to the FUL. And for many of the drugs that
were initially filed -- and I think with our initial
notice and whatever, disclosures, whatever those
legal terms are, but one of our initial letters to
the government on this, we pointed out that -- at
least in our opinion, that had Abbott reported what
we assume were the real wholesale prices, which were
actually below the price we were getting it -- and
we're assuming 2 to 5 percent below -- that in many

of those cases, had Abbott, in our opinion, reported

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truthfully what the -- they were really selling the
drug to the wholesaler for, that the federal upper
limit would have been a different number than what it
was or that the federal upper limit for these drugs
that -- that, you know, was being paid at that time.

We also thought that -- it appeared that
these drugs were all markup company drugs, that First
Data Bank was dealing with them as a markup basis and
that if they had truthfully reported the WAC prices
and -- to First Data Bank, that an AWP would have
been calculated, which was significantly lower than
the AWP that we were seeing in the data sources, and
in many cases, if not all of the initial cases -- I'd
have to look at them, look at the letter; we can look
at that letter if you like -- that the AWP for these
drugs would have been below the federal upper limit.

(Discussion off the record.)

Q. (By Mr. Berlin) While you were talking, I
believe what we got was the additional -- the copies
of your transcript of your previous depositions,
which we haven't needed to refer to. But I just

wanted you to have a copy just in case you wanted to

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testified to -- you would have to be a -- I guess I'm
looking for the right word, but a qualified
purchaser, that you had to be a pharmacy with, you
know, an address and all of those things.
And the McKesson rep usually came to Key

West as I think I recall about once a month,
ballpark. They'd walk by our office. They knew we
were there and where we were. But no, you as an
attorney, if you don't have a pharmacy license and
all the other things that go along with that, you
could not get the catalog.

Q. And at some point you provided a -- I may
be confusing programs. I apologize if I am. But did

you provide a copy of Econolink to the federal

government?
A. Yes, sir, we did.
Q. When did you do that?
A. I may want to recheck the date, but it was

either January 18th, 2001 or January 19th, 2001. We
were in Boston doing a presentation to them and
that's when we gave it to them. Yeah.

Q. And did you seek McKesson's permission to

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